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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   KAREN D. SMITH,                                         CASE NO. C19-0538-JCC
10                             Plaintiff,                    ORDER
11          v.

12   BANK OF NEW YORK MELLON, et al.,

13                             Defendants.
14

15          This matter comes before the Court on Defendant Malcolm & Cisneros’ (“M&C”)
16   motion to dismiss (Dkt. No. 21). Having thoroughly considered the parties’ briefing and the
17   relevant record, the Court finds oral argument unnecessary and hereby DENIES the motion for
18   the reasons explained herein.
19   I.     BACKGROUND
20          On February 9, 2007, Plaintiff Karen D. Smith obtained a loan from Mortgage Solutions
21   Management, Inc. and secured the loan with a deed of trust on the residence. (Dkt. No. 10 at 4.)
22   In July 2007, Plaintiff stopped making payments on the loan. (Id.) Shortly thereafter, Plaintiff
23   filed for bankruptcy and her mortgage loan was eventually discharged. (Id. at 5.) Defendant
24   Bank of New York Mellon retained an in rem interest in Plaintiff’s property after the discharge
25   and recorded a series of notices of trustee’s sales from 2009 through 2016, though none of the
26   sales occurred. (Id. at 5–6.) In November 2016, Plaintiff initiated mediation under Washington’s


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 1   Foreclosure Fairness Act. (Id. at 6.) During mediation, Plaintiff was informed that her loan

 2   modification application was denied. (Id.) Plaintiff alleges that M&C, who represented the loan

 3   servicer Defendant Shellpoint, stopped participating in mediation. (Id. at 6–7.) On January 10,

 4   2018, a foreclosure mediation certificate was issued stating that “[Defendant Shellpoint] failed to

 5   timely participate in mediation.” (Dkt. 10-2 at 3.)

 6          On April 11, 2018, M&C filed a judicial foreclosure complaint on behalf of Defendant

 7   Bank of New York Mellon in King County Superior Court against Plaintiff’s property. (Dkt. No.

 8   10 at 7.) After being removed to federal court, Judge Thomas S. Zilly dismissed the judicial
 9   foreclosure complaint with prejudice, finding that it was time-barred. (Id.); see The Bank of New
10   York Mellon v. Karen D. Smith, Case No. C18-0764-TSZ, Dkt. No. 16 (W.D. Wash. 2018).
11          Plaintiff subsequently filed this lawsuit, alleging that M&C is a debt collector and
12   violated the Washington Consumer Protection Act (“CPA”), Revised Code of Washington §
13   19.86.020, and the Federal Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692,
14   when it filed a lawsuit to collect on a time-barred mortgage debt. (Dkt. No. 10 at 9–11, 15–16.)
15   M&C moves to dismiss all claims against it pursuant to Federal Rule of Civil Procedure
16   12(b)(6). (Dkt. No. 21.)
17   II.    DISCUSSION

18          A.      Federal Rule of Civil Procedure 12(b)(6) Legal Standard

19          A defendant may move to dismiss a complaint if a plaintiff “fails to state a claim upon

20   which relief can be granted.” Fed. R. Civ. P. 12(b)(6). A motion to dismiss can be based on the

21   lack of a cognizable legal theory or on a lack of sufficient facts alleged. Balistreri v. Pacifica

22   Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988). “To survive a motion to dismiss, a complaint

23   must contain sufficient factual matter, accepted as true, to state a claim for relief that is plausible

24   on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility when the

25   plaintiff pleads factual content that allows the court to draw the reasonable inference that the

26   defendant is liable for the misconduct alleged.” Id. While detailed factual allegations are not


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 1   necessary, mere conclusory statements or “a formulaic recitation of the elements of a cause of

 2   action” will not suffice. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007).

 3          B.      Judicial Notice

 4          When ruling on a motion to dismiss for failure to state a claim, the Court may consider

 5   the complaint, documents attached to the complaint, documents incorporated by reference in the

 6   complaint, or matters that are subject to judicial notice. U.S. v. Ritchie, 342 F.3d 903, 907–08

 7   (9th Cir. 2003). The Court may judicially notice adjudicative facts that are not in dispute. Fed. R.

 8   Evid. 201(a)–(b). Adjudicative facts are those that a jury would review. See Fed. R. Evid. 201(a)
 9   advisory committee’s notes to 1972 proposed rules. M&C asks the Court to take judicial notice
10   of three notices of discontinuance of trustee’s sale recorded against Plaintiff’s property and the
11   judicial foreclosure complaint filed in the prior lawsuit between the parties. (Dkt. No. 21 at 3–4,
12   12.)
13          While the facts contained in the discontinuance notices are not disputed, the Court finds
14   that judicial notice of these documents is unnecessary. M&C attaches these notices to support its
15   argument that the judicial foreclosure complaint was not time-barred. (Dkt. No. 21 at 8.)
16   However, Judge Zilly already ruled that the judicial foreclosure complaint was time-barred. See
17   The Bank of New York Mellon, Case No. C18-0764-TSZ, Dkt. No. 16. The Court agrees with
18   Plaintiff that M&C is collaterally estopped from re-litigating the statute of limitations issue in

19   this case. All of the elements of collateral estoppel apply here: (1) the issue decided in the

20   previous case is identical to the issue raised here; (2) Judge Zilly entered a final judgment on the

21   merits; (3) M&C was in privity with the plaintiffs in the previous case; and (4) application of

22   collateral estoppel does not work an injustice against M&C. See Christensen v. Grant County

23   Hosp. Dist. No. 1, 96 P.3d 957, 961 (Wash. 2004).

24          The Court also finds it unnecessary to judicially notice M&C’s previous judicial

25   foreclosure complaint. M&C attaches the complaint in support of its argument that it is not a

26   debt collector. (Dkt. No. 21 at 12.) M&C argues that the judicial foreclosure complaint only


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 1   sought to foreclose the deed of trust and did not seek a deficiency judgment against Plaintiff.

 2   (Id.) However, both the judicial foreclosure complaint and Plaintiff’s amended complaint state

 3   that M&C sought attorney fees and other expenses from Plaintiff in the prior action. (Dkt. Nos.

 4   21-4 at 6, 10 at 11.) In other words, the judicial foreclosure action could have resulted in a

 5   monetary judgment against Plaintiff. Thus, even if the Court were to take judicial notice of the

 6   judicial foreclosure complaint, Plaintiff is not precluded from stating a claim upon which relief

 7   can be granted under the FDCPA. Therefore, M&C’s request for judicial notice is DENIED.

 8          C.      Washington Consumer Protection Act
 9          To prove a violation of the CPA, a plaintiff must demonstrate the following five
10   elements: “(1) [an] unfair or deceptive act or practice; (2) occurring in trade or commerce; (3) a
11   public interest impact; (4) [an] injury to plaintiff in his or her business or property; [and] (5)
12   causation.” Hangman Ridge Training Stables, Inc. v. Safeco Title Ins. Co., 719 P.2d 531, 532
13   (Wash. 1986). The failure to meet any of these elements is fatal to a CPA claim. Id. at 535. The
14   first two elements may be established independently, or “by a showing that the alleged act
15   constitutes a per se unfair trade practice.” Id. “A per se unfair trade practice exists when a statute
16   which has been declared by the Legislature to constitute an unfair or deceptive act in trade or
17   commerce has been violated.” Id. M&C argues that Plaintiff has failed to plead sufficient facts to
18   support each required element of her CPA claim. (Dkt. No. 21 at 10.)

19                  a. Per Se Unfair or Deceptive Act in Trade or Commerce

20           Plaintiff has pled the first two elements of her CPA claim by asserting per se violations

21   of two Washington statutes. The Washington legislature has declared that it is an unfair or

22   deceptive act in trade or commerce for any person or entity to violate the duty of good faith

23   under Revised Code of Washington § 61.24.163. Wash. Rev. Code § 61.24.135(2). Pursuant to

24   that statute, a violation of the duty of good faith includes failing to “timely participate in

25   mediation without good cause.” Wash. Rev. Code § 61.24.163(10)(a). Plaintiff alleges that M&C

26   failed to timely participate in mediation by failing to appear, becoming nonresponsive, and


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 1   making late payments. (Dkt. No. 10 at 6, 11.) Plaintiff attached to her complaint a certification

 2   signed by the mediator, which states that M&C represented the beneficiary in the mediation, and

 3   that the beneficiary “failed to timely participate.” (Dkt. No. 10–2 at 2–3.) Therefore, the Court

 4   finds that Plaintiff has sufficiently alleged a per se unfair or deceptive act in trade or commerce

 5   under Revised Code of Washington § 61.24.135(2).

 6           Additionally, the Washington legislature has declared that violations of the Washington

 7   Collection Agency Act (“WCAA”), Revised Code of Washington § 19.16.250, are per se

 8   violations of the CPA. Wash. Rev. Code § 19.16.440. Under the WCAA, “no licensee or
 9   employee of a licensee shall . . . bring an action or initiate an arbitration proceeding on a claim
10   when the licensee knows, or reasonably should know, that such suit or arbitration is barred by the
11   applicable statute of limitations.” Wash. Rev. Code § 19.16.250(23). A “licensee” is defined as
12   any person licensed under the WCAA. Wash. Rev. Code § 19.16.100.
13           The complaint alleges that M&C is a “collection agency” under the WCAA. (Dkt. No. 10
14   at 3.) Plaintiff alleges that M&C “regularly engages in soliciting claims for collection or
15   collecting or attempting to collect claims owed or due or asserted to be owed or due another
16   person as defined by RCW 19.16.100.” (Id.) Plaintiff further alleges that M&C knew or should
17   have known that the judicial foreclosure complaint was time-barred before M&C filed it. (Id. at
18   7.) Therefore, Plaintiff has sufficiently alleged a per se unfair act in trade or commerce under

19   Revised Code of Washington §19.16.440.

20                   b. Public Interest Impact

21           A plaintiff can establish the public interest impact element by proving that the

22   defendant’s conduct: “(1) violates a statute that incorporates [Wash. Rev. Code § 19.86]; (2)

23   violates a statute that contains a specific legislative declaration of public interest impact; or (3)(a)

24   injured other persons; (b) had the capacity to injure other persons; or (c) has the capacity to

25   injure other persons.” Wash. Rev. Code § 19.86.093.

26           Plaintiff alleges that M&C’s conduct has the capacity to injure others. In a private


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 1   transaction, it is “the likelihood that additional plaintiffs have been or will be injured in exactly

 2   the same fashion that changes a factual pattern from a private dispute to one that affects the

 3   public interest.” Hangman Ridge, 719 P.2d at 538. The Court looks to several factors, including:

 4   (1) whether the alleged acts were committed in the course of the defendant’s business; (2)

 5   whether the defendant advertised to the public in general; (3) whether the defendant actively

 6   solicited this particular plaintiff, indicating potential solicitation of others; and (4) whether the

 7   plaintiff and the defendant occupy unequal bargaining positions. Id. No factor is dispositive; they

 8   are merely indicia from which a trier of fact could reasonably find a public interest impact exists.
 9   Id. Whether the public interest impact element is met is a question of fact. Id.
10           Plaintiff alleges that she was “powerless to affect [sic] any progress toward mitigation or
11   resolution while defendants simply refused to communicate in defiance of the foreclosure
12   mediator, and refused to address the issues of foreclosure in good faith.” (Dkt. No. 10 at 12.) In
13   support of this claim, Plaintiff alleges that she defaulted on her mortgage loan and was facing
14   foreclosure of her home. (Dkt. No. 10 at 4–6.) Plaintiff requested mediation, seeking a loan
15   modification in an attempt to avoid foreclosure. (Id. at 6.) During mediation, M&C, who
16   represented the loan servicer, informed Plaintiff that the loan modification was not approved, but
17   that a renewed application would be reviewed. (Id.) Thereafter, M&C became nonresponsive and
18   ceased to participate in mediation. (Id.) Accepting the facts alleged as true, it is reasonable to

19   infer that M&C and Plaintiff occupied unequal bargaining positions during mediation.

20           Moreover, Plaintiff alleges that M&C is a law firm engaged in the business of collecting

21   debts on behalf of others, and that M&C started soliciting payment from Plaintiff and collecting

22   on her mortgage loan after it was in default. (Id. at 3.) Plaintiff further alleges that M&C is

23   compensated for its debt collection services. (Id. at 4.) It is reasonable to infer from these facts

24   that M&C committed the alleged acts in the course of its business. Therefore, the Court finds that

25   Plaintiff has sufficiently pled the public interest element of her CPA claim.

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 1                  c. Injury to Plaintiff

 2          To plead and prove a CPA claim, “the injury involved need not be great, but it must be

 3   established.” Hangman Ridge, 719 P.2d at 539. Quantifiable monetary loss is not required, but

 4   personal injuries such as mental distress, embarrassment, and inconvenience, as well as their

 5   financial consequences, do not satisfy the injury requirement. Frias v. Asset Foreclosure

 6   Services, Inc., 334 P.3d 529, 538 (Wash. 2009). “The injury element will be met if the

 7   consumer’s property interest or money is diminished because of the unlawful conduct even if the

 8   expenses caused by the statutory violation are minimal.” Mason v. Mortgage America, Inc., 792
 9   P.2d 142, 148 (Wash. 1990).
10          Plaintiff alleges that M&C’s failure to participate in mediation in good faith caused her to
11   suffer an “income reduction” because the “prolonged status in foreclosure disqualified her from
12   eligibility to receive appraisal assignments as an appraiser on the FHA Appraisal Roster.” (Dkt.
13   No. 10 at 12–13.) Additionally, Plaintiff alleges that M&C’s failure to mediate in good faith
14   injured Plaintiff by leaving her “credit profile in flux,” causing her to incur “arrears, additional
15   costs and expenses,” and by “artificially inflat[ing] the cost of [her] mortgage loan with the
16   accumulation of over a decade in arrears.” (Id. at 12.) Accepting these facts as true, the Court can
17   reasonably infer that M&C’s failure to mediate in good faith caused an injury to Plaintiff’s
18   property interest or money. Therefore, Plaintiff has sufficiently pled the injury element of her

19   CPA claim.

20                  d. Causation

21          “To establish the causation element in a CPA claim, a plaintiff must show that, but for the

22   defendant’s unfair or deceptive practice, the plaintiff would not have suffered an injury.” Carlile

23   v. Harbour Homes, Inc., 194 P.3d 280, 290 (Wash. Ct. App. 2008). Plaintiff alleges that the

24   injuries she suffered would not have occurred but for the “needlessly prolonged foreclosure

25   status” caused by M&C’s failure to timely participate in mediation. (Dkt. No. 10 at 13.) Plaintiff

26   has pled sufficient facts to allow the Court to reasonably infer that M&C caused the alleged


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 1   injury by failing to timely participate in mediation. Thus, Plaintiff has sufficiently pled the

 2   causation element of her CPA claim.

 3          In sum, Plaintiff has stated a plausible CPA claim and M&C’s motion to dismiss the

 4   claim is DENIED.

 5          D.      Fair Debt Collection Practices Act

 6          The FDCPA “prohibits collection agencies from misrepresenting the legal status of a

 7   debt, falsely threatening legal action, and making other false representations to debtors.” Panag

 8   v. Farmers Ins. Co. of Washington, 204 P.3d 885, 897 (Wash. 2009). To establish a violation of
 9   the FDCPA, a plaintiff must demonstrate the following elements: (1) the plaintiff is a consumer;
10   (2) the debt arises out of a transaction entered into for personal purposes; (3) the defendant is a
11   debt collector; and (4) the defendant violated one of the provisions of the FDCPA. Heejon Chung
12   v. U.S. Bank, N.A., 250 F.Supp.3d 658, 680 (D. Haw. 2017). The plaintiff “need not even have
13   actually been misled or deceived by the debt collector’s representation; instead, liability depends
14   on whether the hypothetical ‘least sophisticated debtor’ likely would be misled.” Tourgeman v.
15   Collins Financial Services, Inc., 755 F.3d 1109, 1117–18 (9th Cir. 2014). M&C argues that
16   Plaintiff’s FDCPA claim should be dismissed because M&C is not a debt collector under the
17   FDCPA and M&C did not violate any of the FDCPA’s provisions. (Dkt. No. 21 at 10–12.) 1
18               a. Debt Collector

19          Under the FDCPA, a “debt collector” is defined as “any person who uses any

20   instrumentality of interstate commerce or the mails in any business the principal purpose of

21   which is the collection of any debts, or who regularly collects or attempts to collect, directly or

22   indirectly, debts owed or due or asserted to be owed or due another.” 15 U.S.C. § 1692a(6). The

23   term “debt collector” refers to “someone hired by a creditor to collect an outstanding debt,” and

24   not to “a debt owner seeking to collect debts for itself.” Hensen v. Santander Consumer USA

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            M&C does not challenge any other elements of Plaintiff’s FDCPA claim, which the
26   Court assumes are sufficiently pled.

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 1   Inc., 137 S.Ct. 1718, 1721 (2017). In determining whether a defendant is a debt collector, “all

 2   that matters is whether the target of the lawsuit regularly seeks to collect debts for its own

 3   account or does so for ‘another.’” Id. Furthermore, a loan servicer will become a debt collector

 4   under the FDCPA if the debt was in default when it was acquired. Walker v. Quality Loan

 5   Service Corp., 308 P.3d 716, 725 (Wash. Ct. App. 2013).

 6           Plaintiff alleges that M&C is a debt collector under the FDCPA because M&C “regularly

 7   uses the mails and/or telephone in their business, the principle purpose of which is to collect, or

 8   attempt to collect, directly or indirectly, delinquent consumer debts.” (Dkt. No. 10 at 15–16.)
 9   Plaintiff further alleges that M&C “collects the Plaintiff’s loan on behalf of [Defendant Bank of
10   New York] who was assigned this debt after it went delinquent.” (Id. at 15.) Additionally,
11   Plaintiff alleges that M&C provides debt collection services but has no direct stake in the
12   ownership or a security interest in the debt collected. (Id. at 4.)
13           M&C argues that it is not a debt collector under the FDCPA because it is engaged only in
14   security-interest enforcement. (Dkt. No. 21 at 11–12.) However, the cases that M&C cites to
15   support this argument are unpersuasive because they deal with nonjudicial security-interest
16   enforcement actions and distinguish such actions from judicial foreclosure. See Obduskey v.
17   McCarthy & Holthus, LLP, 139 S.Ct. 1029, 1039 (2019) (declining to consider whether those
18   who judicially enforce mortgages are debt collectors under the FDCPA) (emphasis added);

19   McNair v. Maxwell & Morgan PC, 893 F.3d 680, 682 (9th Cir. 2018) (holding that law firm

20   defendant who attempted to collect homeowner association fees through judicial foreclosure

21   acted as “debt collector” under FDCPA) (emphasis added). Here, Plaintiff alleges that M&C

22   used unfair practices to collect debt by filing a time-barred judicial foreclosure complaint. Thus,

23   the Court finds that Plaintiff has sufficiently pled that M&C was acting as a debt collector under

24   the FDCPA.

25               b. Violation of a Provision of the FDCPA

26           Plaintiff alleges that M&C’s filing of a time-barred action violated 15 U.S.C. §§ 1692e,


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 1   1692f, and other provisions of the FDCPA. (Dkt. No. 10 at 16.) As previously mentioned, Judge

 2   Zilly dismissed M&C’s action against Plaintiff because it was time-barred. (Id. at 7.) Under the

 3   circumstances, the Court finds that filing a time-barred complaint could be both a misleading

 4   representation and an unfair and unconscionable means of collecting a debt under 15 U.S.C.

 5   §§ 1692e and 1692f. Indeed, several courts have found that litigation or the threat of litigation in

 6   an attempt to collect on time-barred debt is a violation of the FDCPA. See, e.g., Kimber v. Fed.

 7   Fin. Corp., 668 F.Supp. 1480, 1487 (M.D. Ala. 1987) (holding that a debt collector filing a

 8   lawsuit on a time-barred debt is an unfair and unconscionable means of collecting debt in
 9   violation of section 1692(f) of the FDCPA); Goins v. JBC & Assoc., P.C., 352 F.Supp.2d 262,
10   272 (D. Conn. 2005) (holding that using threat of suit to collect on time-barred debt was a
11   misleading representation in violation of § 1692(e) of the FDCPA). Therefore, the Court finds
12   that Plaintiff has sufficiently pled a violation of the FDCPA.
13   III.   CONCLUSION

14          For the foregoing reasons, Defendant M&C’s motion to dismiss (Dkt. No. 21) is

15   DENIED.

16          DATED this 9th day of July 2019.




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                                                           John C. Coughenour
20                                                         UNITED STATES DISTRICT JUDGE
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